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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
____________________________________
                                            )
Keren Kayemeth LeIsrael-                    )
Jewish National Fund, et al.                )
                                            )
                   Plaintiffs,              )
                                            )
      v.                                    )  Civil Action No. 1:19-cv-03425
                                            )
Education for a Just Peace in the Middle East)
d/b/a US Campaign for Palestinian Rights )
                                            )
                   Defendant.               )
____________________________________)
        PLAINTIFFS’ REPLY TO DEFENDANT’S OPPOSITION TO
              PLAINTIFFS’ MOTION TO RECONSIDER
      COME NOW the Plaintiffs and hereby file their Reply to the Brief in

Opposition to Plaintiffs’ Motion for Reconsideration (D.E. 29) (“USCPR

Opposition”) submitted by Defendant, Education for Just Peace in the Middle East,

d/b/a US Campaign for Palestinian Rights (hereinafter “Defendant” or “USCPR”).

This Court should reconsider its dismissal of Plaintiffs’ Complaint in accordance

with Fed. R. of Civ. P. 59(e) as the Court’s dismissal is based on a clear error in

the application of law.

      Moreover, as noted infra in Section IV, new relevant facts have developed in

the days following the filing of USCPR’s Opposition. The Court should take note

of the barrage of missiles and incendiary terror devices launched this week from


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HAMAS-controlled Gaza into Israel, killing, maiming, and destroying lives,

families, and nature. HAMAS is a designated Foreign Terrorist Organization that

receives sponsorship and material support that enable it to commit atrocious terror

attacks. Plaintiffs’ Complaint alleges that the Defendant has provided material

support and/or aided and abetted HAMAS’ terror attacks from Gaza against

innocent civilians in Israel. These allegations more than suffice to entitle the

Plaintiffs to pursue this action, pursue discovery, and have the day in court to

which they are entitled.

                                          I.
THE RULE 59(e) STANDARD IS SATISFIED BECAUSE THE DISMISSAL
     OF THE COMPLAINT WAS A “CLEAR ERROR OF LAW”
      USCPR asserts erroneously that Plaintiffs “do not even mention the Rule

59(e) standard” in their Motion for Reconsideration. Page 14 of the Plaintiffs’

Motion invokes Rule 59(e), notes that a Court abuses its discretion if it fails to

reconsider a “clear error of law,” and cites the Firestone and Anyanwutaku, cases

on which the Defendant relies.

      USCPR’s Opposition also implies that motions for reconsideration are

routinely and invariably rejected. Strikingly absent from the array of precedents in

the Opposition is True the Vote, Inc. v. Internal Revenue Service, 126 A.F.T.R.2d

2020-6180, pp. 5-6, 2020 WL 5656694, p. 6 (D.D.C. Sept. 23, 2020), in which

Judge Walton recently deemed reconsideration “appropriate” and granted


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defendants’ motion “to correct a clear error.” See also Turkmani v. Republic of

Bolivia, 273 F. Supp. 2d 45, 50 (D.D.C. 2002) (the court can and should correct

clear errors in order to “preserve the integrity of the final judgment.”).

                                          II.

          KEMPER APPLIED AND DID NOT “REPUDIATE” BOIM

      USCPR dismisses the precedent that most closely parallels this case, an en

banc decision of the Seventh Circuit written by Judge Richard Posner – Boim v.

Holy Land Foundation for Relief & Development, 549 F.3d 685 (7th Cir. 2008). Its

Opposition declares that Boim was “explicitly repudiated” in Kemper v. Deutsche

Bank AG, 911 F.3d 383 (7th Cir. 2018). USCPR has apparently failed to read the

Kemper opinion. Nowhere does the Kemper opinion “repudiate” or even question

the Boim ruling or its rationale. In Kemper, Chief Judge Wood confirmed the Boim

decision and said, in language that is particularly applicable to the facts alleged in

the Complaint in this case, “[t]he analogy between multiple sources providing

material support to terrorists, and multiple hunters firing in the same direction,

while imperfect, is helpful.” 911 F.3d at 391.

      The Defendant chose in its initial Motion to Dismiss to ignore Boim

altogether. In USCPR’s Opposition it baselessly declares (p. 9) that the Second,

and Ninth Circuits had issued decisions that conflicted with Boim. In fact, the

Ninth and Second Circuit rulings – Fields v. Twitter, Inc., 881 F.3d 739 (9th Cir.


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2018), and Rothstein v. UBS AG, 708 F.3d 82 (2d Cir. 2013) – did not reject Boim.

The Fields opinion did not cite or discuss Boim. At the very end of the Rothstein

opinion the Second Circuit cited Boim approvingly in support of its conclusion

that, standing alone, Section 2333(a) does not impose aiding-and-abetting liability.

                                         III.

    PLAINTIFFS’ COMPLAINT PLAUSIBLY ALLEGED PROXIMATE
               CAUSE BY THE STANDARD OF BOIM
      The Complaint alleges in Paragraphs 120 through 143 that USCPR

materially supports HAMAS’ terrorist activities by (a) enabling donors to make

tax-deductible contributions through the Defendant, which purports to act as a

“fiscal sponsor” and which violates its fiduciary and other obligations as a US

501(c)(3) organization by sending US dollars to a non-US entity and non-

charitable organization, the BNC, which is a “foreign entity consisting of US

designated Foreign Terrorist Organizations,” and (b) promoting, sponsoring, and

serving as the US partner of the Great Return Marches, which are supported by

HAMAS and which generate and launch “explosive charges” and “incendiary

terror balloons and kites.” These are plausible specific allegations that the

Plaintiffs are entitled to prove in plenary proceedings.

      If proved, the allegations are a proximate cause of the injuries specified in

Paragraphs 157-196 of the Complaint. They would render USCPR liable both



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under Section 2333(a) (“Direct Liability”) and under Section 2333(d) (“Aiding-

and-Abetting Liability”).

      These allegations are not “conclusory.” They allege a “specific factual basis”

for both direct and aiding-and-abetting liability. BNC can gather tax-deductible

contributions in the United States because USCPR provides a tax-deductible

façade. Hence USCPR substantially assists the financing of Foreign Terrorist

Organizations in the same manner as the defendants did in the Boim case. Judge

Posner’s “chain of incorporations” established the proximate cause that tied fund-

collection and distribution of money by the Holy Land Foundation and the other

defendants in Boim to the murders committed by HAMAS. By the same reasoning,

the material support given to HAMAS by USCPR’s support of HAMAS’ Great

Return Marches and USCPR’s charitable solicitations for BNC proximately caused

the injuries suffered by the Plaintiffs.

      There may indeed be other contributors and supporters of HAMAS’ terrorist

conduct. But, as both Boim and Kemper recognized, the proximate-cause element

does not require that the defendant’s conduct be the sole exclusive cause of a

plaintiff’s injury. “Multiple sources” may provide “material support to terrorists,”

and the conduct of each is the proximate cause of an injury giving rise to liability

under Sections 2333(a) and 2333(d).




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                                                     IV.

      HAMAS’ CURRENT DISPATCH OF MURDEROUS ROCKETS IN
       ADDITION TO ITS CONTINUED LAUNCHING OF MISSILES,
    ROCKETS, AND INCENDIARY TERROR DEVICES IN THE FORM OF
      EXPLOSIVE BALLOONS HEIGHTENS THE IMPORTANCE OF
                        JUDICIAL RELIEF
        The importance of this case has been further proved in the days following

     the filing of USCPR’s latest pleading. As of the filing of this Reply,

     approximately 1500 deadly rockets have been fired by HAMAS in Gaza at

     Israeli civilian targets and have resulted in the deaths of several Israelis. As

     U.S. Secretary of State Anthony Blinken stated on May 12, 2021, “There is first

     a very clear and absolute distinction between a terrorist organization, Hamas, that

     is indiscriminately raining down rockets – in fact, targeting civilians – and Israel’s

     response defending itself that is targeting the terrorists who are raining down

     rockets on Israel.” Secretary Anthony J. Blinken on Release of the 2020

     International Religious Freedom Report - United States Department of State.1

     See also Appendix attached hereto that reproduces some news articles reporting

     on these HAMAS terrorist measures.

        Anyone who provides direct or indirect financial support to HAMAS is

     supporting terrorist murder of innocent individuals, be they citizens of Israel or

     of another country. Very recent events demonstrate conclusively that funding a


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 https://www.state.gov/secretary-antony-j-blinken-on-release-of-the-2020-international-religious-freedom-
report/

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   terrorist group such as HAMAS supports that group’s heinous and murderous

   attacks. See e.g. Bartlett v. Societe Generale de Banque un Liban SAL, 2020

   WL 7089448, at *12-16 (E.D. N.Y. Nov 25, 2020); Miller v. Arab Bank, PLC,

   372 F.Supp.3d 33, 47-48 (E.D.N.Y. 2019). If a national of the United States is

   injured or killed, an entity in the United States such as USCPR that provides

   direct or indirect financial support to HAMAS should be held liable under

   American anti-terrorist law.

                                   CONCLUSION

      This Court should grant the Plaintiffs’ Motion for Reconsideration and

permit this case to proceed to discovery and a trial.

Dated: May 14, 2021               Respectfully Submitted,

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